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 1                                                THE HONORABLE MARSHA J. PECHMAN

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 8
                              UNITED STATES DISTRICT COURT
 9                           WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
10
     THAN ORN, individually, THALISA ORN,
11   individually, J.O. and C.O., by their
     Guardian, CLARISSE ORN,
12                                                   CASE NO. 3:13-cv-05974-MJP
                                    Plaintiffs,
13                                                   PLAINTIFFS’ OFFER OF PROOF
           vs.
                                                     REGARDING TACOMA POLICE
14                                                   DEPARTMENT’S ROADBLOCK
     CITY OF TACOMA, a municipal
     corporation; and KRISTOPHER CLARK, in           POLICIES
15
     his individual capacity,
16
                                  Defendants.
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     PLAINTIFFS’ OFFER OF PROOF REGARDING
     TACOMA POLICE DEPARTMENT’S ROADBLOCK
     POLICIES

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 1                         I.      INTRODUCTION AND RELIEF REQUESTED

 2          Plaintiffs intend to publish for the jury in opening and then admit at trial policies
 3
     implemented by the Tacoma Police Department (“TPD”) relating to the use of roadblocks by
 4
     TPD officers. Cochran Dec., Ex. 1 (TPD Manual – Vehicle Operations, Plaintiffs’ Trial Exhibit
 5
     No. 216); Ex. 2 (TPD Professional Standards Sub-Section 3.2, Vehicle Operations, Plaintiffs’
 6
     Trial Exhibit No. 236). Defendants object to the admissibility of these policies. Dkt. 203, Pg.
 7

 8   17, 19 (Exhibit List). Therefore, Plaintiffs submit this offer of proof to the Court.

 9          Defendants object to the inclusion of these policies on the basis that they were not the
10   policies in effect at the time of the shooting. Cochran Dec., Ex. 3, at 36:17-38:11 (Deposition
11
     of Chief of Police Donald Ramsdell). The record shows that Defendants are wrong. TPD’s
12
     General Directive dated May 30, 2012, establishes that the omission of policies relating to the
13
     use of roadblocks from TPD’s Policy Book and Procedure Manual during the transition from a
14

15   physical to electronic Policy Book was inadvertent. Cochran Dec., Ex. 4 (TPD General

16   Directive, Plaintiffs’ Trial Exhibit No. 229). During the deposition of Chief of the Tacoma

17   Police Department Donald Ramsdell, this issue was squarely addressed:
18          Q.      (By Mr. Cochran) Chief, was there any specific decision made, at any
19          point, by the Tacoma Police Department, since you have been chief, to omit the
            policy regarding the use of roadblocks within TPD?
20
            A.      No.
21
            Q.     The intent of TPD was that roadblocks should still be a policy, just as it
22
            was back in 1996, as we saw in Exhibit No. 22, correct?
23
            MS. HOMAN: Object as to form.
24
            Q.      (By Mr. Cochran) Go ahead, Chief.
25
            A.      Yes, that's currently-- I believe it is still currently a policy.
26

      PLAINTIFFS’ OFFER OF PROOF REGARDING
      TACOMA POLICE DEPARTMENT’S ROADBLOCK
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 1          Q.      In October of 2011 was it TPD's desire not to have that same policy in
            effect, that roadblocks should not be employed, except as a last resort,
 2          necessitating the application of deadly force to a life-threatening suspect?
 3
            A.      No, not to my knowledge.
 4   Cochran Dec., Ex. 1, at 38-39.
 5

 6
                                      II.    EVIDENCE RELIED UPON
 7
            This memorandum relies upon the existing file on record and the Declaration of
 8
     Darrell L. Cochran.
 9
                                             III.   CONCLUSION
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11          For the foregoing reasons, Plaintiffs respectfully ask the Court to permit counsel to

12   publish Exhibit Nos. 216 and 236 in opening statement and to present these policies to witnesses

13   and admit them as evidence during trial in accordance with the rules of evidence.
14
            DATED this 22nd day of November, 2020.
15

16

17                                          PFAU COCHRAN VERTETIS AMALA, PLLC

18
                                            By /s/ Darrell L. Cochran
19                                            Darrell L. Cochran, WSBA No. 22851
                                              Thomas B. Vertetis, WSBA No. 29805
20                                            Andrew S. Ulmer, WSBA No. 51227
                                              Alexander G. Dietz, WSBA No. 54842
21

22                                             Attorneys for Plaintiffs

23
                                            COCHRAN DOUGLAS, PLLC
24

25

26

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 1                                         By /s/ Loren A. Cochran
                                             Loren A. Cochran, WSBA No. 32773
 2
                                              Attorney for Plaintiffs
 3

 4                                         LAW OFFICE OF THOMAS A. BALERUD
 5

 6                                         By /s/ Thomas A. Balerud
                                             Thomas A. Balerud, WSBA No. 19539
 7
                                              Attorney for Plaintiffs
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 1                                  CERTIFICATE OF SERVICE

 2
            I, Andrew S. Ulmer, hereby declare under penalty of perjury under the laws of the
 3
     United States of America that I am employed at Pfau Cochran Vertetis Amala PLLC and that
 4
     on today’s date, I electronically filed the foregoing with the Clerk of the Court using the
 5
     CM/ECF system which will send notification of such filing to the following:
 6
            Anne M. Bremner
 7          Karen L. Cobb
            Frey Buck, P.S.
 8          1200 Fifth Ave, Suite 1900
            Seattle, WA 98101
 9          abremner@freybuck.com
            kcobb@freybuck.com
10

11
            DATED this 22nd day of November, 2020.
12

13

14                                               /s/ Andrew S. Ulmer
                                                 Andrew S. Ulmer
15                                               Associate Attorney

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      PLAINTIFFS’ OFFER OF PROOF REGARDING
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